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AO 450 (Rev. 5/85) Judgment in a Civil Case r




                                            United States District Court
                                                WESTERN DISTRICT OF WASHINGTON


            LENIER AYERS,
                                                                            JUDGMENT IN A CIVIL CASE
                                     v.
                                                                            Case No. C08-5390BHS
            HENRI RICHARDS, et al.,



            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
            and the jury has rendered its verdict.

 X      Decision by Court. This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.
   THE COURT HAS ORDERED THAT



            The Court ADOPTS the Report and Recommendation and GRANTS summary judgment
            dismissing Ayres’s claims with prejudice, except that any claim Ayres may have regarding his
            involuntary civil commitment is dismissed without prejudice.




                October 29, 2010                                              WILLIAM M. McCOOL
                 Date                                                            Clerk


                                                            s/ Mary Trent
                                                                            Deputy Clerk
